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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHER DISTRICT OF OHIO
                             EASTERN DIVISION

THE COMMUNITY CHURCH OF      §
CHESTERLAND OHIO, JESS       §                 Civil Action No. 1:24-cv-00642-BMB
PEACOCK, MEGAN CARVER, and   §
CONSTANCE BECKER,            §
                             §
           Plaintiffs,       §
                             §
v.                           §
                             §
                             §
AIMENN D. PENNY, CHRIS UTHE, §
BRANDON PERDUE, SHERRI       §
PERDUE, and UNNAMED MEMBERS §
OF WHITE LIVES MATTER OHIO   §
                             §
           Defendants.       §

               COUNSEL’S WRITTEN SUBMISSION TO THE COURT

       COMES NOW Jason Lee Van Dyke, attorney for Chris Uthe, in the above-

numbered and styled case and makes this written submission to the Court in obedience

to its order entered on June 17, 2024.

                                  I.     INTRODUCTION


   The undersigned counsel has been licensed to practice law for over seventeen years

and is currently serving as a partner at Magana & Van Dyke, PLLC in Denton County,

Texas. As a partner at Magana & Van Dyke, counsel has taken on substantial pro bono

and other reduced cost legal work pursuant to his duty as an American and as an

officer of this Court to defend the rights of persons such as Mr. Uthe who are unable to

afford legal counsel or who are unable to obtain counsel due to the nature of the




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allegations against him. Counsel’s practice with respect to First Amendment issues does

not only extend to First Amendment advocacy: since returning to the practice of law in

November of 2020 counsel has been approved for misdemeanor, felony, and juvenile

court appointments in the county of his residence (Wise County, Texas) as well as in

Young County, Texas. Counsel would welcome this Court to reach out to the Judge

Smith and Judge Lowery in Wise County, as well as Judge Graham, Judge Gregory, and

retired Judge Bristow in Young County should it have any concerns about counsel’s

present ability to comport himself professionally or to represent his clients diligently

and well.

   Counsel’s penchant for undertaking pro bono representation of individuals such as

Mr. Uthe is not without its inconveniences. In the America of 2024 there are a great

number of people who believe that the Mr. Uthe’s of the world have no legal rights

worthy of protection. Through tactics commonly referred to as “lawfare”, they seek to

silence dissenting views and chill speech expressing political opinions outside of the

mainstream. One of their tactics in accomplishing this end is precisely what ultimately

mandated this submission: an anonymous and cowardly correspondence to the clerk of

this court submitted with the intention of making it more costly and burdensome for

Mr. Uthe to defend himself against a lawsuit brought against him by a well-funded

political adversary and with nearly unlimited legal resources. As counsel is legally

authorized to practice law before this Court and is licensed to practice law in multiple

other jurisdictions, there is no legal basis for the Court to prohibit him from continuing

to represent Mr. Uthe.




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          II.    COUNSEL IS AUTHORIZED TO APPEAR IN THIS MATTER


   Counsel’s interpretation of this Court’s original docket entry order in this matter

was clarified by its order on his motion to reconsider. Counsel incorrectly believed,

based upon the wording of the order, that the purpose of the submission and the

mandated hearing was to conduct an attorney discipline proceeding. Local Rule

83.7(d)(1) states that all attorney discipline proceedings of the U.S. District Court in and

for the Northern District of Ohio are handled by the Committee on Complaints and

Policy Compliance (the “Committee”). The only exception to this provision appears to

be Local Rule 83.7(e), which empowers the Chief Judge to act on behalf of the Court in

ordering interim suspension for serious crimes. Local Rule 83.7(e)(1). However, after the

entry of such an order, the Chief Judge is mandated to refer the matter to the

Committee. Local Rule 83.7(e)(2). This Court’s order provided important clarification:

the Court merely appears to be inquiring as to whether counsel is currently authorized

to practice law. ECF 16.

       Counsel is licensed to practice law in Texas, Colorado, Georgia, and the District

of Columbia. He is also licensed to practice before this Court and numerous other

federal courts including, but not limited to, the United States Supreme Court, the Fifth

Circuit Court of Appeals, the Sixth Circuit Court of Appeals, the Eighth Circuit Court of

Appeals, the U.S. District Court for the District of North Dakota, the U.S. District Court

for the Eastern District of Michigan, and the U.S. District Courts for the Northern,




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Eastern, and Western Districts of Texas. He is currently in good standing in all of the

jurisdictions in which he is licensed to practice.

   A current certificate of good standing from the state in which counsel most regularly

practices is attached hereto as Exhibit “M”. Although Counsel has not been ordered by

this Court to provide it with copies of any certificates of good standing from all

jurisdictions in which he is licensed, he would be happy to provide this documentation

to the Court upon request. Counsel also wishes the Court to note that his admissions to

the Sixth Circuit, the Eighth Circuit, and the U.S. District Court for the District of North

Dakota were all approved after the imposition of the disciplinary actions referenced in

this submission. See e.g. Ex. O and P.

                          III.    POST-ADMISSION DISCIPLINE


   The Court has ordered by this Court to disclose all disciplinary actions taken against

him since being admitted to practice before this Court in 2013. In obedience to the

orders of the Court, counsel now discloses the following disciplinary actions.

A. First Disciplinary Action


   This discipline originated in the State of Texas for misconduct that was alleged to

have occurred on or around October 3, 2017. The final disciplinary judgment was

entered on December 28, 2018. A true and correct copy of the disciplinary judgment is

attached hereto as Exhibit “A”.

   Only Colorado and the District of Columbia elected to pursue reciprocal discipline.

Those reciprocal disciplinary judgments are attached as follows:




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       Exhibit “B”             -       Colorado1 (entered March 4, 2019)

       Exhibit “C”             -       District of Columbia 2 (entered June 6, 2019)

Counsel was punished by a six month fully probated suspension from the practice of

law in these cases.

B. Second Disciplinary Action


    This discipline originated in the State of Texas for misconduct that was alleged to

have occurred on or around March 1, 2018. The final disciplinary judgment was entered

on February 21, 2019. A true and correct copy of the disciplinary judgment is attached

hereto as Exhibit “D”.

    Only Colorado and the District of Columbia elected to pursue reciprocal discipline.

The District of Columbia imposed reciprocal discipline in this case at the same time as it

did for the first instance of discipline. See Ex. C. Additionally, reciprocal discipline was

imposed in this matter by Colorado on May 8, 2019. A copy of that judgment is attached

hereto as Exhibit “E”.3 Counsel was punished by a one-year suspension from the

practice of law in each of these cases, with the first three months actively served and the

remainder probated.




1

https://coloradosupremecourt.com/pdj/Decisions/Van%20Dyke,%20Reciprocal%20Discipline,%2019PDJ021,%203
-4-19.pdf (accessed: June 18, 2024)
2
  This case was decided together with the second disciplinary action below.
3

https://coloradosupremecourt.com/pdj/Decisions/Van%20Dyke,%20Reciprocal%20Discipline,%2019PDJ027,%200
5-08-19.pdf (accessed: June 18, 2024)




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C. Third Disciplinary Action


    This disciplinary action originated in the State of Texas for misconduct that was

alleged to have occurred on or around September 18, 2018. The final disciplinary

judgment was entered on May 1, 2020. A true and correct copy of the disciplinary

judgment is attached hereto as Exhibit “F”.

    The following jurisdictions elected to pursue reciprocal discipline. Specifically:

       Exhibit “G”            -       Colorado (entered May 15, 2020)4

       Exhibit “H”            -       District of Columbia (entered December 23, 2020)

       Exhibit “I”            -       U.S. District Court for the Eastern District of Texas
                                      (entered June 12, 2020)

       Exhibit “J”            -       U.S. District Court for the Northern District of Texas
                                      (entered June 11, 2020; reinstatement December 4,
                                      2020)

In addition to the foregoing, Counsel submits a copy of the order from the U.S. District

Court for the Eastern District of Texas noting his prior reinstatement on probation (and

discharging him from the probated portion of his suspension) as Exhibit “K” and

incorporates the same by reference herein. In each of these case, Counsel was punished

by an eighteen month suspension from the practice of law with the first six months

actively served and the remainder probated.




4

https://coloradosupremecourt.com/pdj/Decisions/Van%20Dyke,%20Conditional%20Admission%20of%20Miscond
uct,%2020PDJ026,%2005-15-20.pdf (accessed June 20, 2024)




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D. Georgia Discipline


     With respect to all of the discipline referenced above, the State of Georgia took only

a single disciplinary action against counsel, which became final on April 18, 2023. It

should be noted that this disciplinary action was for the same misconduct for which he

had been disciplined in the third disciplinary action (as set forth above). A true and

correct copy of the judgment is attached hereto as Exhibit “L”. As Counsel had already

been disciplined for the misconduct which formed the basis for Georgia disciplinary

action, no jurisdiction elected to pursue reciprocal discipline against him based upon

that disciplinary judgment.

     Although counsel was not formally disciplined in Georgia for the events which

formed the basis for the first and second disciplinary actions, Respondent was punished

by a three-year suspension from the practice of law nunc pro tunc to February 29, 2019

(the day he voluntarily stopped practicing law in Georgia due to the pending

disciplinary action). The Georgia Supreme Court noted, in accepting this sanction

pursuant to the recommendation of the Special Master, that this was an amount of time

equal to total length of all the suspensions (both actively served and probated) issued in

Texas. See Ex. L.

                  IV.    COMPLIANCE WITH DISTRICT COURT RULES


A.      The First Disciplinary Action Was Timely Reported To The Court

     Counsel disclosed the discipline referenced in the subsection titled “First

Disciplinary Action” above to this Court, and to every other court in which he was




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licensed to practice, immediately after receiving a copy of this notice from the attorney

who represented him in that proceeding. Counsel received no notification from the

Court to appear, show cause, or otherwise take any action with respect to this discipline

and speculated that this is because the term of suspension imposed in that case was

fully probated. However, it should be noted that counsel did not timely report the

reciprocal disciplinary actions taken by Colorado and Washington D.C. in that matter

because he was under the mistaken impression at the time that reporting was required

only for original disciplinary actions.

B.      Disciplinary Orders Entered After December 28, 2018 and Before May 15, 2020
        Were Not Timely Disclosed To The Clerk of This Court

     Counsel admits that he was initially negligent complying with his obligations under

the local rules. Counsel offers no excuse for his initial negligence in complying with the

local rules: he believes that an attorney should always keep himself apprised of the

rules of practice in every jurisdiction in which he is licensed. However, shortly after the

imposition of the May 2020 discipline, Judge Jeremy D. Kernodle of the U.S. District

Court in and for the Eastern District of Texas sternly admonished counsel (in the

written order attached as Exhibit “I”) concerning the importance of these obligations. It

was at that point, in June of 2020, that Counsel took action to remediate his negligence

in reporting these disciplinary actions to all courts.

     Local Rule 83.7(f) does not specify a time limit for an attorney’s compliance with the

rule: it merely states that that an attorney subject to public discipline “shall promptly

inform the Clerk of this Court of such action.” For the purpose of this submission,




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Counsel considers a reporting within thirty (30) days to be sufficiently prompt to ensure

compliance with the rule. By this standard, Counsel failed to disclose the various orders

relating to both the second and the third disciplinary action to this Court until June of

2020 (at which point Counsel recalls mailing all orders not yet disclosed in a single

manilla envelope to each court requiring disclosure).

       While counsel makes no excuse for his initial neglect in informing the court of

the various matters addressed by Local Rule 83.7, he feels that this Court is entitled to

an explanation for his neglect in this regard. Counsel was stalked in an ongoing,

tenacious, and particularly vicious fashion by a highly motivated and sadistic

individual beginning in March of 2017. During this time, Counsel witnesses the

complete destruction of a law practice and career that he worked hard to build from

scratch. He was alienated from nearly all of his friends and from most of his family and

was unemployed except for irregular activities as a hunting lease agent, census

enumerator and pest control technician between March 1, 2019 – November 1, 2020. He

was forced to sell his home to avoid foreclosure and began living in a property

purchased as a “stop-gap” by his father. He attempted numerous methods to stop the

stalking: multiple lawsuits against his stalker proved ineffective, pleas to law

enforcement fell on deaf ears, and state bar disciplinary authorities simply did not care.

       The chronic stress and anxiety caused by being stalked for an extended period of

time seriously affected Counsel’s mental health and well-being. It was compounded

when Respondent was accused of a misdemeanor that he did not commit (this

misdemeanor is the subject of the discipline addressed in the section above labeled May




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1, 2020). However, prior to being ordered to do so, Counsel sought mental health

counseling beginning in mid-to-late 2017. This typically consisted of weekly in-person

sessions from that time until Counsel was discharged from counseling in October of

2019. It was at that time that Counsel resolved to take charge of his own recovery and

began attending confidential programs offered by the Lawyer’s Assistance Program of

the State Bar of Texas (including “Lawyers Concerned for Lawyers”) in his area.

Counsel’s participation in these programs continued until these programs were

discontinued due to the COVID-19 pandemic. However, counsel has continued his own

recovery through the therapeutic techniques and mindset-centric training he learned

about in such programs and counseling sessions.

       Counsel has, in other proceedings, been very open about the fact that he was in a

particularly dark place during the time of his life during which he neglected his

obligations. He recalls feeling as though he was completely alone in the world and as

though there was no hope for his future. In February of 2019, counsel failed to see how

there was any possibility of returning to the practice of law. It took over fifteen months

for him to recover and find his way forward and begin correcting the mistakes he had

made previously. He has not had any disciplinary issues since returning to the practice

of law in November of 2020.

       Counsel reiterates that he does not offer the problems he was facing in his

personal life as an excuse. He is hopeful that an explanation will provide the Court with

an understanding of the personal challenges Respondent faced and that it will accept

his apology for the matters that were not timely disclosed under Local Rule 83.7.




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C.     All Disciplinary Orders Entered Between May 15, 2020 and April 18, 2023 Were
       Timely Disclosed to the Clerk

       Assuming arguendo that this Honorable Court agrees with Counsel’s assumption

that a notification to the Clerk within thirty (30) days is reasonably prompt to comply

with Local Rule 83.7(f)(1), Counsel can represent that all orders imposing public

discipline entered between those dates were promptly disclosed to the Clerk of this

Court. The last such disclosure occurred on or around April 18, 2023, when Counsel

received notice of the Georgia discipline.

D.     Proof of Compliance with Local Rule 83.7(f)

       Counsel received no notices of reciprocal discipline from this Court with respect

to the first disciplinary action. Although his reporting with respect to disciplinary

orders entered after December 28, 2018 and before May 15, 2020 would have been late,

Counsel sent multiple manilla envelopes to multiple courts on or around June 15, 2020

containing all disciplinary orders which had not been disclosed up until that point.

Additionally, public disciplinary judgments entered on December 23, 2020 and April 18,

2023 were mailed to the Clerk of the Court in a timely manner. However, counsel never

received any notices from any court concerning additional disciplinary actions taken

against him.

       Counsel speculates that the reason disciplinary action was not taken against him

in a majority of these cases is because disclosure was made during the height of the

COVID-19 pandemic, where many courts were operating with reduced staff. Local Rule

83.7(f) does not specify a U.S. mail address to which all such required correspondence is




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to be sent and, quite frankly, Counsel has no record of and cannot independently recall

which of the clerks offices in the Northern District of Ohio he sent notice during this

period. Counsel does recall that the disciplinary judgments were sent my regular U.S.

mail for three reasons: (1) the COVID-19 pandemic made certified mail with signed

return receipts impractical at the time; and (b) the local rules do not specify that the

clerk is to be notified by any specific method, and furthermore, both the Local Rules

and the Federal Rules of Civil Procedure contemplate the sufficiency of service by

regular U.S. mail. See Local Rule 83.7(k) (service on the respondent attorney is by

regular US mail); Fed. R. Civ. P. 5(b)(2)(C) (service by regular mail permitted). Suffice to

say, Counsel cannot produce a signed return receipt bearing the signature of a

representative of the Court’s clerk.

       Counsel declines to speculate on why some Courts chose to impose discipline

and others did not. In fact, Counsel is aware of at least one instance of a court

suspending him without notice or opportunity to be heard. When contacting the U.S.

District Court for the Western District of Texas (by regular U.S. mail) concerning the

Georgia discipline, counsel learned that the Court had suspended him (without notice

or hearing) as a result of the May 1, 2020 discipline imposed by Texas. Counsel then

tendered a certified letter to that court concerning the lack of notice and was promptly

reinstated. A true and correct copy is attached hereto as Exhibit “M”.

                    V.     CURRENT DISCIPLINARY PROCEEDINGS


Counsel does not presently have any disciplinary proceedings pending against him.




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                              VI.      CRIMINAL OFFENSES


   Other than traffic violations punishable by a fine only, counsel has not been

convicted of any criminal offenses since becoming licensed to practice before this Court.

Counsel was placed on deferred adjudication community supervision after a plea of

nolo contendere to the misdemeanor offense referenced in the Texas disciplinary order

dated May 1, 2020 and the Georgia disciplinary order dated April 18, 2023 (as well as

the other reciprocal discipline orders). Counsel was discharged from deferred

adjudication community supervision in that cause and the case was dismissed on or

around February 26, 2021. The Honorable Coby Waddill of the Denton County Criminal

Court No. 5 signed an order of non-disclosure, making the matter non-public, several

days after Counsel’s discharge from deferred adjudication (on or around March 1,

2021). Should the Court desire this documentation, Counsel would be happy to furnish

it. However, as these documents are not available to the public, he would request

permission to file them under seal.

                            VII.      CONCLUSION & PRAYER


   The express purpose of this submission and the hearing on the same is, as the Court

stated in its order, to determine both compliance with the Local Rules and also to

determine whether Counsel may continue representing Mr. Uthe. The issue concerning

the Local Rules is fully briefed above but is separate and distinguishable from the

question of whether Counsel may continue representing Mr. Uthe. As this is not an




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attorney discipline proceeding, the ultimate question is whether Counsel is (a) duly

admitted and authorized to practice law before the U.S. District Court in and for the

Northern District of Texas; and (b) remains admitted, in good standing with, and

authorized to practice in the highest court of any state, territory, the District of

Columbia, an insular possession, or in any other district court of the United States. The

answer to both of these questions is “YES”. Accordingly, Counsel prays that this

Honorable Court take no further action concerning these matters.

Date: July 11, 2024

                                                 Respectfully submitted,

                                                 MAGANA & VAN DYKE, PLLC

                                                /s/ Jason Lee Van Dyke
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                               CERTIFICATE OF SERVICE

I hereby certify that on July 11, 2024, a true and accurate copy of the foregoing were

served via ECF procedures of this Court to all counsel of record.

                                                   /s/ Jason Lee Van Dyke
                                                   JASON LEE VAN DYKE




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